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                                                                             FiLED IN OPEN COURT
                                                                                U.S.D.C. Atlanta

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          U N I T E D STATES OF A M E R I C A

                  V.                                                   Criminal Indictment

          C A L V I N L. B A R N E S A / K / A " B I G   CAL",         1 :16- C l - 3 4 6
          SHARON C E A C A L ,
          K E N N E T H COTTRELL,
          ZECHARIAH DANIEL A / K / A               "ZECH"
             A / K / A LEROY H A R R I S ,
          DERRICK L A W S O N ,
          REYNOLDS SCOTT I I I ,
          A N T H O N Y SHIVERS A N D
          C A L V I N C. W I L L I A M S A / K / A " L I L ' C A L "


       THE G R A N D JURY CHARGES THAT:

                                            Count One
                       Conspiracy to Defraud the Government -18 U.S.C. § 286
          1. Beginning on a date unknown to the Grand Jury, but at least by on or about

       February, 2011, and continuing until i n or about May, 2012, i n the Northern

       District of Georgia and elsewhere, the Defendants, C A L V I N L. BARNES,

       SHARON CEACAL, KENNETH COTTRELL, Z E C H A R I A H DANIEL,

       REYNOLDS SCOTT III, A N T H O N Y SHIVERS and C A L V I N C. WILLIAMS, did

       knowingly and w i l l f u l l y agree, combine, and conspire w i t h Charlie Shivers III

       and others k n o w n and unknown to the Grand Jury, to defraud the United States

       by obtaining and aiding to obtain the payment or allowance of false, fictitious
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and fraudulent claims for income tax refunds w i t h the United States Department

of Treasury through the Internal Revenue Service, as set forth below.

                                     Background

   2. A t all times relevant to this Indictment:

         a. The Internal Revenue Service ('TRS") is an agency of the United

             States Department of Treasury responsible for administering and

             enforcing the tax laws of the United States, and for collecting taxes

             (including income taxes) owed to the Treasury of the United States.

         b. Taxpayers who have had income taxes withheld or paid taxes i n an

             amount that exceeds their income tax liability are entitled to tax

             refunds f r o m the IRS. When a taxpayer is entitled to a refund, the

             IRS can send the refund i n a variety of ways, including mailing a

             U.S. Treasury check.

         c. Corporations file their federal income tax on a U.S. Corporation

             Income Tax Return, Form 1120.

                                 Manner and Means

   3. It was part of the conspiracy that:

         a. Charlie Shivers III, COTTRELL, and others k n o w n and unknown to

             the Grand Jury prepared federal corporate tax returns on Form 1120,

             demanding payment of refunds purportedly due the corporations,

             and then filed those returns w i t h the IRS by mail.



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   b. These corporate income tax returns were fraudulent, i n that the

      refunds demanded were based on false statements that the

      corporations had paid certain taxes on fuel and were entitled to

      credit for those payments.

   c. N o t all of the returns were successful, i n that the IRS d i d not pay out

      refunds on all of the returns. When the IRS d i d pay a refund, it

      caused a U.S. Treasury check i n the refund amount to be mailed to

      the corporation at the address specified on the tax return.

   d. Other individuals helped w i t h various aspects of the conspiracy.

   e. A N T H O N Y SHIVERS assisted his brother, Charlie Shivers III, w i t h

      various tasks i n the conspiracy. O n at least one occasion, he

      maintained physical custody of a refund check which had not yet

      been negotiated. I n A p r i l 2012, he also attempted to recruit a new

      individual to negotiate tax refund checks.

   f. CEACAL and others k n o w n and unknown to the Grand Jury agreed

      to allow their mailing addresses, and other mailing addresses under

      their control, to be used for receipt of the U.S. Treasury checks.

   g. BARNES, DANIEL, CEACAL, SCOTT and WILLIAMS negotiated

      tax refmid checks by depositing them or allowing them to be

      deposited into bank accounts they controlled.

A l l i n violation of Title 18, United States Code, Section 286.



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                          Counts Two through Four
            False Claims Against the United States - 18 U.S.C. § 287
   4. The Grand Jury re-alleges and incorporates by reference the factual

allegations i n paragraphs 1 through 3 of this Indictment as if fully set forth here.

   5. On or about the dates listed below, i n the Northern District of Georgia,

Defendant K E N N E T H COTTRELL knowingly and intentionally made and

presented and caused to be made and presented to the Internal Revenue Service,

an agency of the United States Department of the Treasury, claims against the

United States for payment of a refund of taxes, which he then and there knew to

be false, fictitious, and fraudulent. COTTRELL made the claims by preparing

and causing to be prepared, and presenting and causing to be presented to said

agency, U.S. Corporation Income Tax Returns, Forms 1120, for the corporations

and amounts described below, knowing that the claims were false, fictitious, and

fraudulent i n that the named corporations were not entitled to the refunds that

were being requested.
 COUNT         DATE         TAX        CORPORATION N A M E              TAX
                            YEAR                                      REFUND
                                                                      AMOUNT
                                                                      CLAIMED
     2      11/28/2011      2009     A i m to Please                    $53,636
                                     Transportation, Inc.
     3      11/28/2011      2010     A i m to Please                     $108,044
                                     Transportation, Inc.
     4       4/8/2012       2011     A i m to Please                      $96,120
                                     Transportation, Inc.

   A l l i n violation of Title 18, United States Code, Section 287 and Section 2.


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                                   Count Five
                      Theft of Public Funds -18 U.S.C. § 641
   6. The Grand Jury re-alleges and incorporates by reference the factual

allegations i n paragraphs 1 through 5 of this Indictment as i f fully set forth here.

   7. On or about October 6, 2011, i n the Northern District of Georgia, the

Defendant, DERRICK LAWSON, aided and abetted by others known and

u n k n o w n to the Grand Jury, did steal, purloin, and knowingly convert to his

o w n use and the use of another, and receive, conceal and retain w i t h the intent to

convert i t to his use or gain, knowing it to have been stolen, purloined and

converted, money and property of the United States having a value of more than

$1,000, specifically, a federal tax refund i n the amount and i n the name of the

corporation listed below:

 COUNT         DATE                             TAX REFUND
     5      10/6/2011     Tax refund issued to Southard Distribution of Tampa,
                          Inc. i n the amount of $326,764

   A l l i n violation of Title 18, United States Code, Sections 641 and 2.

                                    Count Six
                      Theft of Public Funds -18 U.S.C. § 641
   8. The Grand Jury re-alleges and incorporates by reference the factual

allegations i n paragraphs 1 through 7 of this Indictment as if fully set forth here.

   9. On or about November 14, 2011, i n the Northern District of Georgia, the

Defendant, C A L V I N L. BARNES, aided and abetted by others known and

u n k n o w n to the Grand Jury, did steal, purloin, and knowingly convert to his


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o w n use and the use of another, and receive, conceal and retain w i t h the intent to

convert it to his use or gain, knowing i t to have been stolen, purloined and

converted, money and property of the United States having a value of more than

$1,000, specifically, a federal tax refund i n the amount and i n the name of the

corporation listed below:

 COUNT          DATE                                 TAX REFUND
     6       11/14/2011 Tax refund issued to Shipping Avenues, Inc. i n the
                        amount of $505,399

   A l l i n violation of Title 18, United States Code, Sections 641 and 2.

                                Count Seven
                Money Laundering Conspiracy -18 U.S.C. § 1956(h)
   10. The Grand Jury re-alleges and incorporates by reference the factual

allegations i n paragraphs 1 through 9 of this Indictment as if f u l l y set forth here.

   11. From i n or about April, 2011, through on or about May 21, 2012, i n the

Northern District of Georgia and elsewhere, the defendants, C A L V I N L.

BARNES, SHARON CEACAL, KENNETH COTTRELL, Z E C H A R I A H DANIEL,

DERRICK LAWSON, REYNOLDS SCOTT III, A N T H O N Y SHIVERS and

C A L V I N C. WILLIAMS, did knowingly combine, conspire, confederate, agree,

and have a tacit understanding w i t h each other, and w i t h Charlie Shivers III and

others known and unknown to the Grand Jury, to commit money laundering by

knowingly engaging, and attempting to engage, i n a monetary transaction i n

criminally derived property that had a value greater than $10,000, and that was,

i n fact, derived from specified u n l a w f u l activity, that is, the theft or receipt of

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stolen public money i n violation of 18 U.S.C. § 641, i n violation of Title 18, United

States Code, Section 1957.

   A l l i n violation of Title 18, United States Code, Section 1956(h).

                        Counts Eight through Nineteen
                       Money Laundering -18 U.S.C. § 1957
   12. The Grand Jury re-alleges and incorporates by reference the factual

allegations i n paragraphs 1 through 11 of this Indictment as if fully set forth here.

   13. On or about the dates listed below for each count, i n the Northern District

of Georgia and elsewhere, the Defendants, as identified below for each count,

aided and abetted by others known and unknown to the Grand Jury, d i d

knowingly engage and attempt to engage i n the following monetary transactions

by, through, and to a financial institution, affecting interstate and foreign

commerce, i n criminally derived property of a value greater than $10,000, that is

the withdrawal and wire transfer of funds, such property having been derived

f r o m a specified unlawful activity, that is, theft of government funds, i n violation

of Title 18, United States Code, Section 641.




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COUNT     DATE     AMOUNT          TRANSACTION           DEFENDANTS
  8                            Check f r o m Southard
                               Distributing of Tampa     DERRICK
                               account (Wells Fargo      LAWSON and
                               Bank account #x0942) to   ZECHARIAH
        10/21/2011 $27,550     Banner Marketing          DANIEL
  9                            Check f r o m Southard    DERRICK
                               Distributing of Tampa     LAWSON,
                               account (Wells Fargo      REYNOLDS
                               Bank account #x0942) to   SCOTT III and
                               Scott Cepada Apparel,     C A L V I N C.
        10/21/2011 $30,000     LLC                       WILLIAMS
 10                                                      DERRICK
                               Check f r o m Southard    LAWSON,
                               Distributing of Tampa     REYNOLDS
                               account (Wells Fargo      SCOTT III and
                               Bank account #x0942) to   C A L V I N C.
        10/25/2011 $18,000     Scott Cepada              WILLIAMS
 11                                                      DERRICK
                               Check f r o m Southard    LAWSON,
                               Distributing of Tampa     REYNOLDS
                               account (Wells Fargo      SCOTT III and
                               Bank account #x0942) to   C A L V I N C.
        10/25/2011 $33,000     SWV Consulting            WILLIAMS
 12                            Check f r o m Southard
                               Distributing of Tampa
                               account (Wells Fargo
                               Bank account #x0942) to   DERRICK
        10/25/2011 $20,000     The Klein Group           LAWSON
 13                            Check f r o m Southard
                               Distributing of Tampa
                               account (Wells Fargo
                               Bank account #x0942) to   DERRICK
        11/14/2011 $15,000     Shirley D. Porch          LAWSON
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COUNT        DATE        AMOUNT              TRANSACTION               DEFENDANTS
  14                                  Check f r o m Shipping
                                      Avenues, Inc. account            C A L V I N L.
                                      (Wells Fargo Bank                BARNES and
                                      account #xl874) to               ZECHARIAH
          11/29/2011 $20,000          Banner Marketing                 DANIEL
  15                                  Check f r o m Shipping
                                      Avenues, Inc. account            C A L V I N L.
                                      (Wells Fargo Bank                BARNES and
                                      account #xl874) to               ZECHARIAH
          12/8/2011      $13,500      ZECHARIAH DANIEL                 DANIEL
  16                                  Check f r o m Shipping
                                      Avenues, Inc. account            C A L V I N L.
                                      (Wells Fargo Bank                BARNES and
                                      account #xl874) to Scott         REYNOLDS
          12/13/2011 $30,000          Cepada                           SCOTT I I I
  17                                  Check f r o m Shipping
                                      Avenues, Inc. account            C A L V I N L.
                                      (Wells Fargo Bank                BARNES and
                                      account #xl874) to               REYNOLDS
          12/20/2011 $30,000          REYNOLDS SCOTT                   SCOTT I I I
  18                                  Check f r o m
                                      Transportation and
                                      Distributing
                                      Consultants, Inc. account
                                      (Wells Fargo Bank
                                      account #xl403) to               C A L V I N L.
          2/27/2012      $30,000      Shipping Avenues, Inc.           BARNES
  19                                  Check f r o m
                                      Transportation and
                                      Distributing
                                      Consultants, Inc. account
                                      (Wells Fargo Bank
                                      account #xl403) to               C A L V I N C.
           3/9/2012      $20,000      C A L V I N C. W I L L I A M S   WILLIAMS

 A l l i n violation of Title 18, United States Code, Sections 1957 and 2.

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                                       Forfeiture

   14. Upon conviction for any of the offenses alleged i n Counts Five through

Nineteen of this Indictment, the defendant shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c), any property constituting or derived f r o m proceeds

obtained directly or indirectly as a result of said violations.

   15. Upon conviction for the money laundering offense alleged i n Count Seven

through Nineteen of this Indictment, the defendant shall forfeit to the United

States, pursuant to Title 18, United States Code, Section 981(a)(1)(A), any

property, real or personal, involved i n a money laundering transaction, or any

property traceable to such property.

   16. If, as a result of any act or omission of the defendant, any property subject

to forfeiture:

          a. cannot be located upon the exercise of due diligence;

          a. has been transferred or sold to, or deposited w i t h , a third person;

          b. has been placed beyond the jurisdiction of the Court;

          c. has been substantially diminished i n value; or

          d. has      been commingled w i t h     other   property which cannot        be

                 subdivided without difficulty;

the United States intends, pursuant to Title 18, United States Code, Section 982(b)

and Title 21, United States Code, Section 853(p), and Title 28, United States Code,



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Section 2461(c), to seek forfeiture of any other property of the defendant up to the

value of the forfeitable property.




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